                    Case 2:19-cv-00213-ECM-WC Document 1 Filed 03/23/19 Page 1 of 3


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                                IN THE UNITED STATES DISTRICT COURT FOR THE , :: CEIV -- ,
                                        MIDDLE DISTRICT OF ALA13AMA                     -
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                    Plaintiff(s),                         )            CIVIL ACTION NO.a:h-cv-             215- am -671113
                                                          )
                                                          )            JURY DEMAND(MARK ONE)
                                                          )
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ge.56.kS&                                                 )
(Le)               (5c,     5 RSA               MAier     )
                                                          )
                    Defendant(s).

                                                       COMPLAINT

         1.         Plaintiff(s)' address and tgl_ephoie nurnber:                        Tck.    c2       S.
          Pe O. Box tC                      ((lel& aoler-i, 4-k4 rfrt_ 5 3C/0 2.--/6 Ly't
          (3`LI            cs-z- 06g3
         2.  Name and address of defendant(s): R e.q ia kt 5 g I/1   S 4-                             S         io               F-
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         3.         Place of alleged violalion of civil rights:_6 5 It ge_-)
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         4.         Date of alleged violation of civil rights: g                                   C re-;j         ).

         5.       State the facts 9n which you base your One:anon tihat your constitutional rights have been
                  violated: th              cYF      v       ; htS 14-            r- 1114        q5
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6.       Relief requested:           IK              6 .,_.c,_\
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Date: M                   k 22,
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